                                 Case 19-11396-MFW                      Doc 1        Filed 06/24/19           Page 1 of 18


Fill in this information to identify your case:


United States Bankruptcy Court for the:

DISTRICT OF DELAWARE

Case number (if known)                                                        Chapter       11
                                                                                                                                Check if this an
                                                                                                                                amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                            4/19
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                HDR Holding, Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                       Mailing address, if different from principal place of
                                                                                                    business

                                  800 E. Virginia Ave.
                                  West Chester, PA 19380
                                  Number, Street, City, State & ZIP Code                            P.O. Box, Number, Street, City, State & ZIP Code

                                  Chester                                                           Location of principal assets, if different from principal
                                  County                                                            place of business

                                                                                                    Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       schramminc.com


6.   Type of debtor                       Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                          Partnership (excluding LLP)
                                          Other. Specify:




 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
                                       Case 19-11396-MFW                  Doc 1         Filed 06/24/19              Page 2 of 18
Debtor    HDR Holding, Inc.                                                                             Case number (if known)
          Name


7.   Describe debtor's business         A. Check one:
                                             Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                             Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                             Railroad (as defined in 11 U.S.C. § 101(44))
                                             Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                             Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                             Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                             None of the above

                                        B. Check all that apply
                                            Tax-exempt entity (as described in 26 U.S.C. §501)
                                             Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                             Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                        C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                           See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                             3399

8.   Under which chapter of the         Check one:
     Bankruptcy Code is the
                                             Chapter 7
     debtor filing?
                                             Chapter 9
                                             Chapter 11. Check all that apply:
                                                                  Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                  are less than $2,725,625 (amount subject to adjustment on 4/01/22 and every 3 years after that).
                                                                  The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                  business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                  statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                  procedure in 11 U.S.C. § 1116(1)(B).
                                                                  A plan is being filed with this petition.
                                                                  Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                                  The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                                  The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                             Chapter 12



9.   Were prior bankruptcy                  No
     cases filed by or against
     the debtor within the last 8           Yes
     years?
     If more than 2 cases, attach a
     separate list.                               District                                 When                                  Case number
                                                  District                                 When                                  Case number

10. Are any bankruptcy cases                No
    pending or being filed by a
    business partner or an                  Yes
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor     Schramm, Inc.                                                   Relationship            Affiliate
                                                  District   Delaware                      When      06/24/2019              Case number, if known   Unknown




 Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                       page 2
                                Case 19-11396-MFW                      Doc 1       Filed 06/24/19              Page 3 of 18
Debtor   HDR Holding, Inc.                                                                       Case number (if known)
         Name




11. Why is the case filed in    Check all that apply:
    this district?
                                      Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                      preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                      A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal       Yes Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                   Why does the property need immediate attention? (Check all that apply.)
                                               It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                              What is the hazard?
                                               It needs to be physically secured or protected from the weather.
                                                 It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                              livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                               Other
                                           Where is the property?
                                                                            Number, Street, City, State & ZIP Code
                                           Is the property insured?
                                               No
                                               Yes Insurance agency
                                                        Contact name
                                                        Phone


         Statistical and administrative information

13. Debtor's estimation of               Check one:
    available funds
                                            Funds will be available for distribution to unsecured creditors.
                                            After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                            1,000-5,000                                25,001-50,000
    creditors
                                    50-99                                           5001-10,000                                50,001-100,000
                                    100-199                                         10,001-25,000                              More than 100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                    $1,000,001 - $10 million                   $500,000,001 - $1 billion
                                    $50,001 - $100,000                              $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                             $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                           $100,000,001 - $500 million                More than $50 billion

16. Estimated liabilities           $0 - $50,000                                    $1,000,001 - $10 million                   $500,000,001 - $1 billion
                                     $50,001 - $100,000                             $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                             $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                           $100,000,001 - $500 million                More than $50 billion




 Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
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Debtor   HDR Holding, Inc.                                                                         Case number (if known)
         Name



         Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on          06/24/2019
                                                  MM / DD / YYYY


                             X   /s/ Craig Mayman                                                         Craig Mayman
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Chief Executive Officer




18. Signature of attorney    X   /s/ Sean T. Greecher                                                      Date    06/24/2019
                                 Signature of attorney for debtor                                                 MM / DD / YYYY

                                 Sean T. Greecher
                                 Printed name

                                 YOUNG CONAWAY STARGATT & TAYLOR, LLP
                                 Firm name

                                 Rodney Square, 1000 North King Street, Wilmington, DE 19801
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     302-571-6600                  Email address      sgreecher@ycst.com

                                 No. 4484 - DE
                                 Bar number and State




 Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 4
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                                  HDR HOLDING, INC.
                               SECRETARY’S CERTIFICATE

                                          June 23, 2019

       I, Jesse Glover, hereby certify that I am the duly appointed, qualified and acting Secretary
of HDR Holding, Inc., a Delaware corporation (the “Company”) and that, in such capacity, I am
authorized to execute and deliver this certificate. I do hereby further certify as follows:

        The resolutions attached hereto as Exhibit A were duly adopted at a meeting (duly
convened where a quorum of directors was present) of the Board of Directors of the Company
held on June 23, 2019, and such resolutions have not been amended or revoked, and are now in
full force and effect.

         IN WITNESS WHEREOF, I have duly executed this certificate as of the first date written
above.


                                             /s/ Jesse Glover
                                             Jesse Glover, Secretary
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                                            Exhibit A

                                           Resolutions

         WHEREAS, the Board of Directors has reviewed and considered the financial and
operational condition of the Company, and the Company’s business on the date hereof, including
the historical performance of the Company, the assets of the Company, the current and long-term
liabilities of the Company, the market for the Company’s products and services, and credit
market conditions; and

       WHEREAS, the Board of Directors has received, reviewed and considered the
recommendations of the senior management of the Company and the Company’s legal, financial
and other advisors as to the relative risks and benefits of pursuing a bankruptcy proceeding under
the provisions of Title 11 of the United States Code.


Chapter 11 Case

        NOW, THEREFORE, BE IT RESOLVED, that, in the judgment of the Board of
Directors, it is desirable and in the best interests of the Company, its creditors, and other
interested parties, that a voluntary petition (the “Petition”) be filed with the United States
Bankruptcy Court for the District of Delaware (the “Bankruptcy Court”) on behalf of the
Company under the provisions of chapter 11 of Title 11 of the United States Code (the
“Bankruptcy Code”).

        RESOLVED FURTHER, that any officer of the Company, including the Chief
Restructuring Officer, (each, an “Authorized Officer” and collectively, the “Authorized
Officers”) be, and each of them individually hereby is, authorized, in the name and on behalf of
the Company, appointed as the Company’s authorized representatives, and in such capacity,
acting alone or together, with power of delegation, be, and they hereby are, authorized and
empowered to execute, acknowledge, deliver, verify and file on behalf of the Company,
including in the Company’s capacity as shareholder or member of its subsidiaries, the Petition
and all schedules, lists, applications, pleadings and other motions, papers, agreements, consents
or documents, and to take any and all action that they deem necessary or proper to obtain such
relief under the Bankruptcy Code, including, without limitation, any action necessary to maintain
the ordinary course operation of the Company’s businesses.


Retention of Professionals

        RESOLVED FURTHER, that the law firm of Young Conaway Stargatt & Taylor, LLP,
shall be, and hereby is, authorized, empowered, and directed to represent the Company, as debtor
and debtor-in-possession, in connection with any chapter 11 cases commenced by the Company
under the Bankruptcy Code to represent and assist the Company in carrying out its duties under
the Bankruptcy Code, and to take any and all actions to advance the Company’s rights and
obligations, including to (a) execute, acknowledge, deliver, and verify the Petition and all other
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ancillary documents, and to cause the Petition to be filed with the Bankruptcy Court and make or
cause to be made, prior to execution thereof, any modifications to the Petition or any ancillary
document as an Officer deems necessary, desirable, or appropriate to carry out the intent and
accomplish the purpose of these resolutions, (b) execute, acknowledge, deliver, verify, and file or
cause to be filed all petitions, schedules, statements, lists, motions, applications, and other papers
or documents necessary or proper in connection with the foregoing, and (c) execute,
acknowledge, deliver, and verify any and all other documents necessary or proper in connection
therewith and to administer the Company’s chapter 11 case in form or forms as any Authorized
Officer may deem necessary or proper and in order to effectuate the purpose of the intent of the
foregoing resolutions; and in connection therewith, each of the Authorized Officers, with power
of delegation, are hereby authorized and directed to execute appropriate retention agreements,
pay appropriate retainers, and to cause to be filed an appropriate application for authority to
retain the services of Young Conaway Stargatt & Taylor, LLP.

        RESOLVED FURTHER that the firm of FocalPoint Partners, LLC, be, and hereby is,
authorized to represent and assist the Company as investment banker in carrying out the
Company’s duties under the Bankruptcy Code, and to take any and all actions to advance the
Company’s rights and obligations; and in connection therewith, each of the Authorized Officers,
with power of delegation, are hereby authorized and directed to execute appropriate retention
agreements, pay appropriate retainers, and to cause to be filed an appropriate application for
authority to retain the services of FocalPoint Partners, LLC.

        RESOLVED FURTHER that the firm of Epiq Bankruptcy Solutions, LLC, be and
hereby is, authorized to represent and assist the Company as notice, claims, and solicitation agent
and administrative advisor in carrying out the Company’s duties under the Bankruptcy Code, and
to take any and all actions to advance the Company’s rights and obligations; and in connection
therewith, each of the Authorized Officers, with power of delegation, are hereby authorized and
directed to execute appropriate retention agreements, pay appropriate retainers, and to cause to be
filed appropriate applications for authority to retain the services of Epiq Bankruptcy Solutions,
LLC.

        RESOLVED FURTHER, that each Authorized Officer be, and they hereby are,
authorized, empowered, and directed, in the name and on behalf of the Company, with full power
of delegation, to determine in their judgment if necessary, and if determined to be necessary, to
employ and retain a firm, to be named at a later date, to retain a Chief Restructuring Officer of
the Company, along with additional personnel, as restructuring advisors to represent and assist
the Company in carrying out the Company’s duties under the Bankruptcy Code, and to take any
and all actions to advance the Company’s rights and obligations, and in connection therewith,
each of the Authorized Officers (other than the Chief Restructuring Officer) is hereby authorized,
empowered, and directed, in the name and on behalf of the Company, with full power of
delegation, to execute appropriate retention agreements, pay appropriate retainers, and cause to
be filed an appropriate application for authority to retain the services of any such firm.

       RESOLVED FURTHER that each Authorized Officer be, and they hereby are,
authorized and directed to employ any other professionals to assist the Company in carrying out
the Company’s duties under the Bankruptcy Code, and to take any and all actions to advance the
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Company’s rights and obligations; and in connection therewith, each of the Authorized Officers,
with power of delegation, are hereby authorized and directed to execute appropriate retention
agreements, pay appropriate retainers, and to cause to be filed appropriate applications for
authority to retain the services of any other professionals as necessary.

       RESOLVED FURTHER that each Authorized Officer be, and they hereby are, with
power of delegation, authorized, empowered and directed to execute and file all petitions,
schedules, motions, lists, applications, pleadings, and other papers and, in connection therewith,
to employ and retain all assistance by legal counsel, accountants, financial advisors, and other
professionals and to take and perform any and all further acts and deeds that each of the
Authorized Officers deem necessary, proper or desirable in connection with the Company’s
chapter 11 case, with a view to the successful prosecution of such case.

      RESOLVED FURTHER, that each of the aforementioned retained advisors of the
Company are hereby authorized to take any and all actions necessary or desirable to advise the
Company’s rights and obligations and facilitate the commencement of any cases commenced by
the Company under the Bankruptcy Code.


DIP Financing

        RESOLVED FURTHER, that, in connection with the commencement of the Company’s
chapter 11 case, each of the Authorized Officers, is authorized and directed, to the extent
necessary, on behalf of the Company, as debtor and debtor-in-possession, to negotiate, obtain,
execute, deliver, and] guarantee postpetition financing and use of cash collateral according to the
terms negotiated, or to be negotiated, by, or on behalf of, the Company or otherwise approved by
the Bankruptcy Court; and the Company is hereby authorized and directed to take all actions
necessary in connection therewith, including, without limitation (i) the use of cash collateral and
the incurrence of debtor in possession financing in such amounts and on such terms as the
Authorized Officers deem necessary or advisable (collectively, the “DIP Financing”), (ii) the
execution and delivery of any documents to evidence the DIP Financing, including, without
limitation, all term sheets, credit agreements, and notes, (iii) the incurrence and payment of fees,
(iv) the execution and delivery of real property and personal property (including intellectual
property) security agreements (and amendments, supplements, and modifications thereto, as
appropriate), (v) the granting of liens on and security interests in any and all assets of the
Company, (vi) the authorization of filing and recording, as applicable, of financing statements,
agreements, mortgages, or any other documents evidencing and perfecting such liens or security
interests and amendments to such financing statements, agreements, mortgages or other
documents, (vii) the acknowledgement of debt and liens of existing loans, (viii) pay interest to
the Company’s existing lenders, and (ix) the execution and delivery of deposit, securities and
other account control agreements (and amendments, supplements and other modifications
thereto, as appropriate), and the Authorized Officers are hereby authorized and directed to
execute any appropriate agreements and related ancillary documents on behalf of the Company in
connection with the foregoing.
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Stalking Horse APA

        RESOLVED FURTHER, that it is in the best interest of the Company to enter into the
proposed Asset Purchase Agreement (together with all exhibits, schedules and other attachments
thereto or incorporated therein by reference, the “Stalking Horse APA”), by and between
GenNx360 Capital Partners, L.P. as purchaser (the “Stalking Horse Bidder”) and the Company
on the terms and conditions substantially similar to those set forth in the form of Stalking Horse
APA.

       RESOLVED FURTHER, that the form, terms, and provisions of the Stalking Horse
APA, and any other agreement, instrument, document, or certificate required to effect the
purposes of the Stalking Horse APA, is authorized and approved, with such changes,
additions, or deletions as any Authorized Officer executing the same may in his or her discretion
deem necessary or appropriate.

        RESOLVED FURTHER, that each Authorized Officer be, and they hereby are,
authorized, empowered, and directed to enter into, execute, and deliver the Stalking Horse
APA with the Stalking Horse Bidder on behalf of the Company, subject to the Company
receiving higher or better offers through a court-supervised auction process pursuant to
section 363 of the Bankruptcy Code.

        RESOLVED FURTHER, that each Authorized Officer be, and they hereby are,
authorized, empowered, and directed to execute and file on behalf of the Company all
schedules, lists, and other motions, papers, or documents, and any other agreements or
amendments related thereto or required thereby in respect of the sale of certain or all of the
assets of the Company pursuant to sections 105, 363 and 365 of the Bankruptcy Code (the
“Section 363 Sale”), and to take any and all action that they deem necessary or advisable to
effect the Section 363 Sale, the execution thereof to be conclusive evidence of such approval and
determination.


Officer Appointment

        RESOLVED FURTHER, that Jesse Glover is hereby unanimously chosen as an officer
of the Company to serve in the office of Secretary, effective as of the date hereof and until such
time as his respective successor is elected and qualified.


General

       RESOLVED FURTHER, that in addition to the specific authorizations heretofore
conferred upon the Authorized Officers, each of the Authorized Officers (and their designees and
delegates) be, and they hereby are, authorized and empowered, in the name of and on behalf of
the Company, to take or cause to be taken any and all such other and further action, and to
execute, acknowledge, deliver and file any and all such agreements, certificates, instruments and
other documents and to pay all expenses, including but not limited to filing fees, in each case as
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in such officer’s judgment, shall be necessary, advisable or desirable in order to fully carry out
the intent and accomplish the purposes of the resolutions adopted herein.

       RESOLVED FURTHER, that all members of the Board of Directors of the Company
have received sufficient notice of the actions and transactions relating to the matters by the
foregoing resolutions, as may be required by the organizational documents of the Company, or
hereby waive any right to have received such notice.

         RESOLVED FURTHER, that all lawful acts, actions and transactions relating to the
matters contemplated by the foregoing resolutions done in the name of and on behalf of the
Company, which acts would have been approved by the foregoing resolutions except that such
acts were taken before the adoption of these resolutions, are hereby in all respects approved and
ratified as the true acts and deeds of the Company with the same force and effect as if each such
act, transaction, agreement or certificate has been specifically authorized in advance by resolution
by the Board of Directors.




01:24636958.1
                                      Case 19-11396-MFW                      Doc 1       Filed 06/24/19           Page 11 of 18



       Fill in this information to identify the case:
       Debtor Name: HDR Holding, Inc., et al.

       United States Bankruptcy Court for the: District of Delaware                                                  ⃞ Check if this is an amended filing
       Case number (if known): __________________________
Fill in this information to identify the case:


  Official Form 204
  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
  Are Not Insiders                                                                           12/15

  A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
  debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
  include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
  among the holders of the 20 largest unsecured claims.

       Name of creditor and         Name, telephone number and email         Nature of claim     Indicate if   Amount of claim
       complete mailing             address of creditor contact              (for example,        claim is     If the claim is fully unsecured, fill in only unsecured claim
       address, including zip                                                trade debts,       contingent,    amount. If claim is partially secured, fill in total claim amount
       code                                                                  bank loans,       unliquidated,   and deduction for value of collateral or setoff to calculate
                                                                             professional       or disputed
                                                                                                               Total claim,          Deduction for          Unsecured
                                                                             services, and
                                                                                                               if partially          value of collateral    claim
                                                                             government
                                                                                                               secured               or setoff
                                                                             contracts)
   1   DNOW L.P.                    DNOW L.P.
       7402 N. Eldridge Parkway     Ahsan Mukhtar
       Houston, TX 77041            Phone: 281-823-4700                         Litigation                                                                    $5,560,887.90
                                    Email: Ahsan.Mukhtar@dnow.com

   2    Hydro Air Hughes, LLC       Hydro Air Hughes, LLC
        P.O. Box 782056             Ray Dalrymple
        Philadelphia, PA 19178-     Phone: 800-243-2617                        Trade Debt                                                                        $312,238.95
        2056                        Email: rdalrymple@hydroair.net

   3    Doosan Infracore Portable   Doosan Infracore Portable Power
        Power                       Alison Forbes
        24523 Network Place         Phone: 973-618-2500                        Trade Debt                                                                        $300,000.00
        Chicago, IL 60673           Email: alison.forbes@doosan.com

   4    Leiss Tool & Die            Leiss Tool & Die
        801 N Pleasant Avenue       Sally Shroyer
                                                                               Trade Debt                                                                        $240,032.16
        Somerset, PA 15501          Phone: 814-444-1444
                                    Email: sshroyer@Leiss.com

   5    General Engineering         General Engineering Company
        Company                     Tanya Kestner
        26485 Hillman Highway       Phone: 276-628-6068                        Trade Debt                                                                        $213,597.75
        P.O. Box 549                Email:TKestner@generalengr.com
        Abingdon, VA 24212

   6    Den-Con Tool Company        Den-Con Tool Company
        5354 South I-35             Crystal Seyfried
        P.O. Box 96308              Phone: 405-672-5884                        Trade Debt                                                                        $179,316.83
        Oklahoma City, OK           Email: crystal@dencon.com
        73143-6308

   7    Sullivan Palatek            Sullivan Palatek
        Dept 152801                 James Freligh
        P.O. Box 67000              Phone: 219-874-2497                        Trade Debt                                                                        $178,023.17
        Detroit, MI 48267-1528      Email: jfreligh@palatek.com

   8    Exploration Drill Masters   Exploration Drill Masters Chile S.A.
        Chile S.A.                  Nigel Smith
        Avenida Colorado N°01200    Phone: 56-2-2739-0315                      Trade Debt                                                                        $173,120.34
        Quilicura – Santiago        Email:
        Chile                       nigelsmith@explorationdrillmasters.com




Official Form 204                 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                             page 1


01:24604562.1
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       Debtor: HDR Holding, Inc., et al.                                                                                         Case number (if known) ____________

       Name of creditor and          Name, telephone number and email          Nature of claim     Indicate if   Amount of claim
       complete mailing              address of creditor contact               (for example,        claim is     If the claim is fully unsecured, fill in only unsecured claim
       address, including zip                                                  trade debts,       contingent,    amount. If claim is partially secured, fill in total claim amount
       code                                                                    bank loans,       unliquidated,   and deduction for value of collateral or setoff to calculate
                                                                               professional       or disputed    unsecured claim.
                                                                                                                 Total claim,          Deduction for             Unsecured
                                                                               services, and
                                                                                                                 if partially          value of collateral claim
                                                                               government
                                                                                                                 secured               or setoff
                                                                               contracts)
   9    Cordicate Information        Cordicate Information Technology
        Technology                   Sean Baird
        794 Penllyn Blue Bell Pike   Phone: 610-527-9520                         Trade Debt                                                                        $168,062.51
        Suite 200                    Email: sbaird@cordicate.com
        Blue Bell, PA 19422

   10 BDO USA, LLP                   BDO USA, LLP
      1801 Market Street             Anthony Diianni                             Professional
      Suite 1700                     Phone: 215-564-1900                                                                                                           $144,275.96
                                                                                   Service
      Philadelphia, PA 19103         Email: adiianni@bdo.com

   11 920 S Bolmar Associates        920 S Bolmar Associates LP
      LP                             Eli Kahn
      c/o J Loew Property            Phone: 610-696-1649
      Management Inc.                Email: ekahn@ekahndevelopment.com           Trade Debt                                                                        $138,601.64
      120 Pennsylvania Avenue
      Malvern, PA 19355

   12 Kutzner Manufacturing Co       Kutzner Manufacturing Co Inc.
      Inc.                           John Mirsch
      3255 Meetinghouse Road         Phone: 215-721-1712                         Trade Debt                                                                        $130,871.00
      Telford, PA 18969              Email: jmirsch@kutznermanufacturing.com

   13 Winston &Strawn LLP            Winston &Strawn LLP
      Metlife Building               Bradley C. Vaiana, Esq.                     Professional
      200 Park Avenue                Phone: 212-294-6700                                                                                                           $102,737.76
                                                                                   Service
      New York, NY 10166             Email: bvaiana@winston.com

   14 Ducker Worldwide               Ducker Worldwide Advisors LLC
      Advisors LLC                   Jamieson Bender                             Professional
      1250 Maplelawn Drive           Phone: 248-644-3128                                                                                                            $86,500.00
                                                                                   Service
      Troy, MI 48084                 Email: jamieb@ducker.com


   15 Sterner's Hydraulics           Sterner's Hydraulics
      864 N West End Blvd.           Tom Steel
      Quakertown, PA 18951           Phone: 610-434-1725                         Trade Debt                                                                         $76,091.55
                                     Email: tsteel@sternershydraulics.com

   16 All Metals Fabricators Inc.    All Metals Fabricators Inc.
      P.O. Box 954                   Tom Hebling
                                                                                 Trade Debt                                                                         $75,225.00
      82 Hayward Road                Phone: 978-263-3904
      Acton, MA 01720                Email: thebling@goamf.com

   17 Universal Engineering          Universal Engineering Services, Inc.
      Services, Inc.                 Matt Michele
      1145 Snelling Avenue           Phone: 651-714-0552                         Trade Debt                                                                         $69,848.00
      North                          Email: MattM@ues.net
      St Paul, MN 55108

   18 Oracle Support Services        Oracle Support Services
      P.O. Box 203448                Jameel Ahamed
      Dallas, TX 75320-3448          Phone: 888-803-7414 ext 10713               Trade Debt                                                                         $69,342.19
                                     Email: jameel.ahamed@oracle.com

   19 Aerotek, Inc.                  Aerotek, Inc.
      P.O. Box 198531                Jennifer Mills
                                                                                 Trade Debt                                                                         $69,095.91
      Atlanta, GA 30384-8531         Phone: 888-237-6835
                                     Email: jmills@aerotek.com

   20 Star Iron Works                Star Iron Works
      257 Caroline Street            Kevin Lenz
      Box 155                        Phone: 814-427-2555                         Trade Debt                                                                         $59,320.57
      Punxsutawney, PA 15767         Email: lenzkr@starironworks.com

   21 Track One S.R.L.               Track One S.R.L.
      Via Anton Giulio Barrili       Letizia Rebecchi
      115 Modena                     Phone: 39 059 9780111                       Trade Debt                                                                         $52,150.66
      Italy                          Email: Letizia.Rebecchi@usco.it




Official Form 204                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                                  page 2

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      Debtor: HDR Holding, Inc., et al.                                                                                          Case number (if known) ____________

       Name of creditor and        Name, telephone number and email            Nature of claim     Indicate if   Amount of claim
       complete mailing            address of creditor contact                 (for example,        claim is     If the claim is fully unsecured, fill in only unsecured claim
       address, including zip                                                  trade debts,       contingent,    amount. If claim is partially secured, fill in total claim amount
       code                                                                    bank loans,       unliquidated,   and deduction for value of collateral or setoff to calculate
                                                                               professional       or disputed    unsecured claim.
                                                                                                                 Total claim,          Deduction for             Unsecured
                                                                               services, and
                                                                                                                 if partially          value of collateral claim
                                                                               government
                                                                                                                 secured               or setoff
                                                                               contracts)
   22 Piacentino Partnership       Piacentino Partnership
      816 East Baltimore Pike      Tom Piacentino
      Kennett Square, PA           Phone: 610-444-4200                           Trade Debt                                                                         $50,150.00
      19348-1890                   Email: tjp@lmconline.com

   23 Althev Oilfield Service      Althev Oilfield Service Limited
      Limited                      Allan Williams
      Kristatstraat #1             Phone: 868 18686 406462                       Trade Debt                                                                         $49,750.00
      Paramaribo, Suriname         Email: awilliams@althev.com
      Saudi Arabia

   24 Foley, Inc.                  Foley, Inc.
      P.O. Box 828735              Mary Beth Rosier
      Philadelphia, PA 19182-      Phone: 215-639-4300                           Trade Debt                                                                         $46,528.70
      8735                         Email: MRosier@ransome.com

   25 Airline Hydraulics           Airline Hydraulics Corporation
      Corporation                  Valerie Vecchione
      3557 Progress Dr.            Phone: 215-638-4700                           Trade Debt                                                                         $44,545.88
      Bensalem, PA 19020           Email: VVecchione@airlinehyd.com

   26 Dalla's Machine Inc.         Dalla's Machine Inc.
      4410 Parkview Drive          Brian Pollitt
      Schnecksville, PA 18078      Phone: 610-799-2800                           Trade Debt                                                                         $44,488.30
                                   Email: brian@dallamachine.com

   27 PECO Energy Company          PECO Energy Company
      P.O. Box 37632               Brian Reed
      and P.O. Box 37629           Phone: 215-841-4024                           Trade Debt                                                                         $42,162.47
      Philadelphia, PA 19101       Email: Brian.Reed2@exeloncorp.com

   28 Hill+Knowlton Strategies     Hill+Knowlton Strategies
      P.O. Box 101264              Jeff Marcus                                   Professional
                                                                                                                                                                    $40,374.75
      Atlanta, GA 30392-1264       Phone: 212-885-0300                             Service
                                   Email: Jeff.Marcus@hkstrategies.com

   29 Avondale Machine             Avondale Machine Products Inc.
      Products Inc.                Bob Willard
      P.O. Box 208                 Phone: 610-268-2121                           Trade Debt                                                                         $39,204.18
      Avondale, PA 19311           Email: rwillardamp@verizon.net

   30 Constellation NewEnergy      Constellation NewEnergy Gas Division, LLC
      Gas Division, LLC            Erika Morrison
      P.O. Box 5473                Phone: 855-465-1244                           Trade Debt                                                                         $34,988.96
      Carol Stream, IL 60197-      Email: Erika.Morrison@constellation.com
      5473




Official Form 204                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                                  page 3

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                                     IN THE UNITED STATES BANKRUPTCY COURT
                                          FOR THE DISTRICT OF DELAWARE


           In re                                                          Chapter 11

           HDR HOLDING, INC., et al. 1                                    Case No.: 19-_____ (___)

                                        Debtors.                          (Joint Administration Requested)



                             CONSOLIDATED CORPORATE OWNERSHIP STATEMENT
                             AND LIST OF EQUITY INTEREST HOLDERS PURSUANT TO
                               BANKRUPTCY RULES 1007(a)(1) 1007(a)(3), AND 7007.1

                      Pursuant to Rules 1007(a)(1), 1007(a)(3), and 7007.1 of the Federal Rules of Bankruptcy

           Procedure, the above-captioned debtors and debtors in possession (each, a “Debtor”) hereby state

           as follows:

                      1.       A list of Debtor HDR Holding, Inc.’s equity interest holders,2 their addresses, and
                               the nature of their equity interests is attached hereto as Exhibit A.

                      2.       HDR Holding, Inc., whose address is 800 E. Virginia Ave., West Chester, PA
                               19380, is the sole shareholder of Debtor Schramm Inc.




           1
            The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number, are:
           HDR Holding, Inc. (2015) and Schramm, Inc. (0480). The Debtors’ mailing address is 800 E. Virginia Ave., West
           Chester, PA 19380.
           2
                A group of individuals also own options in HDR Holding, Inc., but none have exercised their options.




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                                                               EXHIBIT A

                                                                                   Shares of       Common Share
                        Name                              Address
                                                                                 Common Stock        Percentage

           GenNx360 Capital Partners,       590 Madison Ave
                                                                                      83,536,642          96.94%
           L.P.                             New York, NY 10022
                                            c/o Mainline Investment Advisers,
                                            LLC
           CMS/GenNx 360 Capital Fund,
                                            308 E. Lancaster Avenue                    2,372,597           2.75%
           L.P.
                                            Suite 300
                                            Wynnewood, PA 19096-2145
           Edward J. Breiner (IRA) First    223 Sage Hill Lane
                                                                                         75,687             .09%
           Clearing LLC                     West Chester, PA 19382

                                            910 Saratoga Drive
           John A. Bellis, Jr.                                                           53,118             .06%
                                            West Chester, PA 19380

           Richard E. Schramm and           84 Crosslands Drive
                                                                                         13,750             .02%
           Patricia C. Schramm              Kennett Square, PA 19348

                                            965 Brookside Court
           Frank C. Gabriel                                                               8,962             .01%
                                            West Chester, PA 19380

           NFS LLC IRA FBO Frank C.         965 Brookside Court
                                                                                         44,489             .05%
           Gabriel, Jr.                     West Chester, PA 19380

           MLPF&S as Cust. FBO James        552 Mt View Road
                                                                                         24,664             .03%
           Dolan                            Berwyn, PA 19312

                                            221 Lone Lane
           Bruce D. Mackay                                                               23,769             .03%
                                            Allentown, PA 18104

                                            3810 Northview Street
           Peter Christian                                                                2,623            >.00%
                                            Laramie, WY 82072
                                            4 Inwood Drive
                                            Paget Parish
           RDS Group Ltd.                                                                 9,331             .01%
                                            Bermuda
                                            PG05
           Sharon Rose Gilbert as Trustee   40 Lacepede Drive
                                                                                          5,899             .01%
           for the GMT & E Trust            Sorrento, Western Australia, 6020

           ADHB Pty Ltd. as Trustee for     60 Paramount Drive
                                                                                          3,432            >.00%
           The ADHB Unit                    Wangara, Western Australia, 6065

           Management Options               [See Options Ownership below]               265,724             .31%




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                                                                                        Shares of       Common Share
                         Name                              Address
                                                                                      Common Stock        Percentage

           Total                                                                           86,174,963         100.00%1




                                               Options Ownership


                         Name                              Address                    Options Owned


                                             3238 Bridelpath Lane
           Mike Dynan 2012                                                                   346,011
                                             Dresher, PA 19025

                                             912 Oldmans Creek Road
           Mike Horchuck 2012                                                                346,011
                                             Woolwich, NJ 08085

                                             707 Summer Street
           David Sim 2012                                                                    172,961
                                             Media, PA 19063

                                             715 Club Drive
           Jerry Burris 2012                                                                 172,961
                                             Aurora, OH 44202

                                             10330 Sweetleaf Place
           Oscar Groomes 2012                                                                172,961
                                             Charlotte, NC 28278

                                             49 Founders Way
           Bobby Bryan 2014                                                                 1,383,956
                                             Downingtown, PA 19335

                                             49 Founders Way
           Bobby Bryan 2015                                                                 2,872,499
                                             Downingtown, PA 19335

                                             3236 Greystone Drive
           Thomas Strauss                                                                    957,500
                                             Garnet Valley, PA 19060

                                             134 S Sawbridge Circle
           Sean Roach                                                                        718,125
                                             The Woodlands, TX 77389

                                             2609 Bala Lane
           Shelia Boornazian                                                                 346,011
                                             Ardmore, PA 19003

                                             10330 Sweetleaf Place
           Oscar Groomes 2016                                                                861,750
                                             Charlotte, NC 28278

                                             4 Kaliman Road
           Davie Marwick                                                                     344,700
                                             Harrisdale, WA 6112



           1
                Rounded Common Share Percentages may not total 100%.

                                                                     2
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                                             Options Ownership


                       Name                              Address                   Options Owned


                                           131 Whatley Crescent
           Dave Shinner                                                                   172,350
                                           Baywater, Western Australia, 6053

                                           715 Club Drive,
           Jerry Burris 2016                                                              172,350
                                           Aurora, OH 44202

                                           3238 Bridelpath Lane
           Mike Dynan 2016                                                                 95,750
                                           Dresher, PA 19025

                                           912 Oldmans Creek Road
           Mike Horchuck 2016                                                              95,750
                                           Woolwich, NJ 08085

           Total                                                                         9,231,646




                                                        Warrant Ownership

                                                                                                     Diluted Ownership
                        Name                                       Address                             Percentage w/
                                                                                                         Warrants
                                            140 Broadway
           Brown Brothers Harriman & Co.                                                                        4.9541%
                                            New York, NY 10005
                                            One Oxford Centre
           Tristate Capital Bank            301 Grant Street, Suite 2700                                        3.4679%
                                            Pittsburgh, PA 15219
                                            One Penn Square
           Fulton Bank, N.A.                P.O. Box 4887                                                       4.9541%
                                            Lancaster, PA 17602
                                            One Logan Square
           Citizens Bank of Pennsylvania                                                                        7.4312%
                                            Philadelphia, Pennsylvania 19103

                                            824 North Market Street, Suite 100
           Santander Bank, N.A.                                                                                 6.1927%
                                            Wilmington, Delaware 19801


           Total                                                                                                  27.0%




                                                                  3
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 Fill in this information to identify the case:

 Debtor name                HDR Holding, Inc.

 United States Bankruptcy Court for the:            District of Delaware

 Case number (if known)
                                                                                                                                     Check if this is an
                                                                                                                                     amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                            12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration    Consolidated Corporate Ownership Statement and Equity List

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on         6/24/2019                                X /s/ Craig Mayman
                                                                       Signature of individual signing on behalf of debtor

                                                                       Craig Mayman
                                                                       Printed name

                                                                       Chief Executive Officer
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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